






NO. 12-08-00436-CV



IN THE COURT OF APPEALS


TWELFTH COURT OF APPEALS DISTRICT


TYLER, TEXAS

THE STATE OF TEXAS FOR		§		APPEAL FROM THE 


THE BEST INTEREST AND 		§		COUNTY COURT AT LAW


PROTECTION OF C.G.			§		CHEROKEE COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION

	C.G. appeals from an order of commitment for temporary inpatient mental health
services.  After a hearing without a jury, the trial court ordered C.G. committed to Rusk State
Hospital for a period not to exceed ninety days.  In a single issue, C.G. asserts the evidence is
legally and factually insufficient to support the order.  We affirm.


Background

	On September 24, 2008, an application for court ordered temporary mental health
services was filed requesting the court commit C.G. to Rusk State Hospital for a period not to
exceed ninety days.  The application was supported by a certificate of medical examination for
mental illness, prepared by a physician, Dr. Jon Guidry, who had examined C.G. on
September&nbsp;23.  Dr. Guidry diagnosed C.G. as suffering from Bipolar Disorder mixed with
psychotic features.  He found that C.G. is mentally ill and likely to cause serious harm to herself. 
He also found that C.G. is suffering severe and abnormal mental, emotional, or physical distress,
is experiencing substantial mental or physical deterioration of her ability to function
independently, which is exhibited by her inability to provide for her basic needs, and is unable to
make a rational and informed decision as to whether or not to submit to treatment.  

	Dr. Guidry reached these conclusions because, on September 23, C.G. provided
tangential, circumstantial responses and had been sent to Rusk State Hospital from another
county under an order of protective custody.  Further, Dr. Guidry relied on C.G.'s explanation
that an ambulance was sent to her home after she returned home from the emergency room
where she had gone for her medications, as well as her denial that she is suicidal.  For those
same reasons, and because C.G. said her medications were not right, she was depressed, and she
was not stable, Dr. Guidry also determined that, as demonstrated by her behavior and evidence
of severe emotional distress and deterioration in her mental condition, C.G. presents a substantial
risk of serious harm to herself or others if not immediately restrained. 

	On September 24, 2008, C.G. was examined by Dr. Larry Hawkins who then also
prepared a certificate of medical examination for mental illness.  Dr. Hawkins diagnosed C.G.
with Bipolar Disorder and a nonspecified personality disorder.  He also indicated that C.G. is
mentally ill and likely to cause serious harm to herself.  The doctor's basis for his opinion is that
C.G. had reportedly threatened suicide, which she denied, she was depressed, anxious, and
overwhelmed with the circumstances of the previous two weeks, she exhibited "circumstantial
speech" and poor train of thought, and was evasive.  

	Dr. Hawkins testified at the hearing, explaining that he diagnosed C.G. with Bipolar
Disorder and personality disorder, N.O.S.  He testified that C.G. is likely to cause serious harm
to herself.  He explained that, at times, she gets confused and is unable to make good decisions. 
And while that has improved during hospitalization, it continues to be very difficult to get her to
cooperate with any kind of reasonable treatment.  He explained that he concluded she is likely to
cause serious harm to herself based on a pattern of behavior.  C.G. is reported to have threatened
suicide before coming to the hospital and, the week before the hearing, she told a nurse she was
suicidal.  Dr. Hawkins testified that C.G. has a difficult time making decisions and talking about
her issues in a coherent fashion and that she has predetermined what she will accept as treatment. 
She will agree to take some medications but refuses some others.  In the month that she had been
hospitalized, nothing changed except that she is less depressed.  He specifically stated that C.G.
continues to maintain that she cannot manage herself outside the hospital without suicidal
indications.  Dr. Hawkins explained that her personality disorder keeps her wanting to stay in a
protected environment while part of her does not like medical personnel telling her what is good
for her.  Consequently, she keeps fighting over treatment.  The doctor testified that her prognosis
is, at best, fair.  His diagnosis is based on his examination of C.G., a review of her medical
history, and reasonable medical probabilities.  He explained that C.G. could probably be released
from the hospital if she would agree to a mood stabilizer and be on it for a couple of weeks. 
However, he testified that Rusk State Hospital is the least restrictive available medical treatment
option at this time.  

	On cross examination, Dr. Hawkins testified that C.G. does not agree with anyone at the
hospital and will not talk about her medications in a rational fashion.  He explained that he is
going to ask that she be transferred to another unit and for a second opinion because she has not
stabilized and continues to complain of the treatment she is getting.  She agreed to take an
antidepressant, which is helping, but, due to inaccurate information she received from other
doctors in the past, she refuses to take mood stabilizers that would help with her suicidal
tendencies.  

	On redirect examination, Dr. Hawkins explained that, less than a week before she was
admitted at Rusk, C.G. was a voluntary patient at a private psychiatric hospital where they were
willing to stabilize her with the medications she agreed to take.  

	C.G. testified in her own behalf.  She denied telling a nurse that she was suicidal.  She
stated that she had been to two other hospitals and Dr. Hawkins had access to the files from
those hospitals.  She denied feeling suicidal, explaining that the last time she felt suicidal was
two or three weeks ago.  She explained that she felt depressed due to her medical and mental
disabilities.  She testified that, if she were released from the hospital, she would go to her
mother's house.  When asked her source of income, she responded that she has "SSDI."

	The trial court entered an order for temporary inpatient mental health services after
determining that the evidence supports the allegations that C.G. is mentally ill and that she is
likely to cause serious harm to herself.  The court ordered C.G. committed to Rusk State
Hospital for a period not to exceed ninety days.  


Sufficiency of the Evidence

	In her sole issue, C.G. asserts the evidence is neither legally nor factually sufficient to
support the order of commitment.  She argues that the evidence does not show an overt act or
continuing pattern of behavior tending to confirm that she is likely to cause serious harm to
herself.  Thus, she argues, the State failed to meet its evidentiary burden under the statute. 

Standard of Review

	In a legal sufficiency review where the burden of proof is clear and convincing evidence,
the reviewing court must consider all of the evidence in the light most favorable to the finding to
determine whether a reasonable trier of fact could have formed a firm belief or conviction that its
finding was true.  In re J.F.C., 96 S.W.3d 256, 266 (Tex. 2002).  The reviewing court must
assume that the factfinder resolved disputed facts in favor of its finding if a reasonable factfinder
could do so.  Id.  A court should disregard all evidence that a reasonable factfinder could have
disbelieved or found to have been incredible.  Id.

	In addressing a factual sufficiency of the evidence challenge, we must consider all the
evidence in the record, both that in support of and contrary to the trial court's findings.  In re
C.H., 89 S.W.3d 17, 27-29 (Tex. 2002).  This court must give due consideration to evidence that
the factfinder could reasonably have found to be clear and convincing.  Id. at 25.  We must
determine whether the evidence is such that a factfinder could reasonably form a firm belief or
conviction about the truth of the State's allegations.  Id.  We must consider whether disputed
evidence is such that a reasonable trier of fact could not have reconciled that disputed evidence
in favor of its finding.  In re J.F.C., 96 S.W.3d at 266.  Appellate courts retain deference for the
constitutional roles of the factfinder.  In re C.H., 89 S.W.3d at 26.  The trier of fact is the
exclusive judge of the credibility of the witnesses and the weight to be given their testimony. 
See id. at 27; In re J.J.O., 131 S.W.3d 618, 632 (Tex. App.-Fort Worth 2004, no pet.).

Applicable Law 

	The trial judge may order a proposed patient to receive court ordered temporary inpatient
mental health services if the judge or jury finds, from clear and convincing evidence, that the
proposed patient is mentally ill and, as a result of the mental illness she is likely to cause serious
harm to herself, is likely to cause serious harm to others, or is (i) suffering severe and abnormal
mental, emotional, or physical distress, (ii) experiencing substantial mental or physical
deterioration of her ability to function independently, which is exhibited by her inability, except
for reasons of indigence, to provide for her basic needs, including food, clothing, health, or
safety, and (iii) unable to make a rational and informed decision as to whether or not to submit to
treatment.  Tex. Health &amp; Safety Code Ann. § 574.034(a) (Vernon 2003).  To be clear and
convincing under the statute, the evidence must include expert testimony and, unless waived,
evidence of a recent overt act or a continuing pattern of behavior that tends to confirm either the
likelihood of serious harm to the proposed patient or others, or the proposed patient's distress
and the deterioration of her ability to function.  Tex. Health &amp; Safety Code Ann.
§&nbsp;574.034(d) (Vernon 2003).

Discussion

	The State provided expert testimony explaining that C.G. is mentally ill.  Dr. Hawkins
described a pattern of behavior involving threats to commit suicide and a continuing concern for
suicidal indications.  Further, while C.G. is less depressed, she is confused, unable to make good
decisions, and is uncooperative with regard to her treatment, refusing to take mood stabilizers
that would help reduce her suicidal tendencies.  Thus, the record contains expert testimony of a
recent continuing pattern of behavior that tends to confirm the likelihood that C.G. will cause
serious harm to herself.  The trial court could have disbelieved C.G.'s testimony to the contrary. 
See In re J.F.C., 96 S.W.3d at 266. 

	Considering all the evidence in the light most favorable to the findings, we conclude a
reasonable trier of fact could have formed a firm belief or conviction in the truth of the finding
that C.G. is likely to cause serious harm to herself.  Id.  The evidence presented satisfies the
statutory requirement for clear and convincing evidence in support of the order for temporary
inpatient mental health services.  See Tex. Health &amp; Safety Code Ann. § 574.034(d).  The
evidence is legally sufficient to support the trial court's order.  See In re J.F.C., 96 S.W.3d at
266.  	

	In addressing C.G.'s factual sufficiency complaint, we consider the evidence the
factfinder could reasonably have found to be clear and convincing.  In re C.H., 89 S.W.3d at 25. 
C.G. denied currently feeling suicidal or that she told a nurse at Rusk State Hospital that she was
suicidal.  The trial court was entitled to disbelieve C.G.'s testimony and disregard evidence
contrary to the State's position.  See id. at 27.  In explaining that she had not felt suicidal in the
last two or three weeks, she implied that she had, as recently as two weeks before the hearing,
been suicidal.  In light of the entire record, the evidence that the trial court could not have
credited in favor of its findings is not so significant that it could not reasonably form a firm
belief or conviction that C.G. is likely to cause serious harm to herself.  See id.  Thus, the
evidence is factually sufficient to support the trial court's finding.  Because we hold the evidence
is both legally and factually sufficient to support the trial court's order, we overrule C.G.'s sole
issue.


Disposition

	We affirm the trial court's order of commitment for temporary inpatient mental health
services. 




								    BRIAN HOYLE   

									   Justice



Opinion delivered September 23, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.























	(PUBLISH)


